      11-15686-cgm            Doc 35-1 Filed 07/26/17 Entered 07/26/17 09:32:35                             Order of Final
                                      Decree: Notice Recipients Pg 1 of 1
                                                    Notice Recipients
District/Off: 0208−1                       User: jlachappe                    Date Created: 7/26/2017
Case: 11−15686−cgm                         Form ID: 149                       Total: 4


Recipients of Notice of Electronic Filing:
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
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ust         United States Trustee    Office of the United States Trustee     U.S. Federal Office Building     201 Varick
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